  Case 2:18-cr-00036-LGW-BWC Document 24 Filed 10/01/18 Page 1 of 2



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA                                        FILED
                                                                                          Scott L. Poff, Clerk
                               BRUNSWICK DIVISION                                      United States District Court

                                                                                   By STaylor at 5:20 pm, Oct 01, 2018




 UNITED STATES OF AMERICA,

        v.                                                 CASE NO.: 2:18-cr-36

 JONATHAN LAMAR MANET,

                Defendant.



                                     DETENTION ORDER

       Defendant is charged by indictment with felonies involving possession with the intent to

distribute a controlled substance. Defendant was arrested on the charges in the Southern District

of Florida. Magistrate Judges in the Southern District of Florida conducted Defendant’s Initial

Appearance on July 27, 2018 and a Removal and Detention Hearing on August 1, 2018. At the

August 1, 2018 hearing, the Magistrate Judge determined that Defendant should be detained

pending trial, finding that Defendant’s release would pose a risk of nonappearance at Court

proceedings and a risk of harm to the public. Defendant was transferred to this District for further

proceedings. On September 25, 2018, Defendant appeared in this Court for his Arraignment.

Defendant was represented by counsel during that proceeding. At his Arraignment, Defendant

requested to be released pending trial. The Government opposed Defendant’s request. Therefore,

a second bond hearing was held.

       The Court concludes Defendant must be detained pending trial. Based on the evidence

presented and information of record, the Court finds by a preponderance of the evidence that

Defendant’s release would pose a risk of nonappearance at Court proceedings, and by clear and

convincing evidence that Defendant’s release would pose a risk of harm to the public.

       Specifically, the Court finds that Defendant has a criminal record, including probation

violations, battery on a law enforcement officer, arson, and drug offenses, which indicates a
  Case 2:18-cr-00036-LGW-BWC Document 24 Filed 10/01/18 Page 2 of 2



propensity to violate the law and Court orders; is currently using illicit drugs and Defendant is

likely to continue such conduct and violate the law if released, and; has an unverified current

address. The Court further finds that conditions which restrict Defendant’s travel, personal

contacts, and possession of drugs, alcohol, and firearms; require reporting, education, employment,

or treatment; or monitor Defendant’s movements or conduct; or any combination of these

conditions or others currently proposed or available (see 18 U.S.C. § 3142(c)), will not sufficiently

ameliorate the risks posed if Defendant is released.

                                 Directions Regarding Detention

       Defendant is committed to the custody of the Attorney General or his designated

representative for confinement in a corrections facility separate, to the extent practicable, from

persons awaiting or serving sentences or being held in custody pending appeal. Defendant shall

be afforded a reasonable opportunity for private consultation with defense counsel. On order of a

court of the United States or on request of any attorney for the Government, the person in

charge of the corrections facility shall deliver Defendant to the United States Marshal for the

purpose of an appearance in connection with a court proceeding.

       SO ORDERED, this 1st day of October, 2018.




                                       BENJAMIN W. CHEESBRO
                                       UNITED STATES MAGISTRATE JUDGE
                                       SOUTHERN DISTRICT OF GEORGIA




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